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Attorneys for Defendants
INDYZEN, INC. and PRAVEEN NARRA KUl\/IAR

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
PARKRIDGE LIMITED, a Hong Kong

corporation, by Mabel Mal<, and MABEL CASE NG~ 16'CV“07387"KAW
MAK’ an mdmdual’ PETITIoN FoR AN oRDER
PI . t.ff COMPELLING ARBITRATION
am S» PURSUANT To 9 U.S.C. § 4
V~ Date: January 18, 2018
Time: 1 1100 AM
INDYZEN, INC., a California corporation, Dept_; TBD
and PRAVEEN NARRA KUMAR, an Judge: Hon. Kandis A. Westmore

individual,

Defendants,

 

 

 

Defendant lndyzen, Inc. (“Indyzen”) hereby alleges:

l. On January 5, 2015, Plaintiff Parkridge Limited (“Parkridge”) and lndyzen entered
into a Written agreement in San Jose, California for lndyzen to design a fitness app called
“Morfit” for Parkridge in exchange for payment (the “Mortit Agreement”). (Cornpl., Dkt. No. 1,
at 11 31.) Defendant Praveen Narra (“Narra”) signed as CEO of lndyzen. Randy Dobson signed
as CEO of Parkridge. (Ia’. and Exhibit B thereto, Page 8.)

2. Dobson runs a growing fitness empire in Vietnam using sham alter ego companies
Parkridge is one of these companies Parl<ridge does not have any employees, nor does it have a
physical office location. (Declaration of Praveen Narra Kumar (the “Narra Decl.”) at 11 4.)

Further, Parl<ridge does not follow basic corporate formalities like issuing shares or holding

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annual board or shareholder meetings ([a'.) Additionally, for purposes of business, Mak-his
wife and the nominal majority shareholder of Parkridge-~is just another one of Dobson’s alter
egos. Dobson’s other sham companies include California Management Group a/k/a/ CMG.Asia
(“CMG”), California Fitness & Yoga Centers Company Limited (“CFYC”), F8 Vietnam
Company Limited (“FS Company”) and Boon Global Limited (“Boon”). These four companies
are collectively referred to as Dobson’s “Additional Sham Companies” throughout this petition.

3. Dobson has a history of using his alter ego companies to avoid litigation relating to
Parkridge and his other companies, and is well-versed in how to do it. ln January 2015, he
emailed Narra telling Narra to make a payment to yet another alter company of his called “R&R”
to “keep money flow directly out of Parkridge until we are clear of any legal issues with [a third
party]. Once we are certain no legal issues with [the third party], then R&R will invoice
Parkridge for the money.” (Narra Decl. at 11 8 at and Exhibit A thereto.) Dobson has also
taunted Narra that he will continue to use these and other sham companies to continue to try to
evade litigation, has boasted that he can shield himself from American law enforcement through
the use of offshore banking accounts in the British Virgin Islands and Hong Kong, and has said
that he is Willing to forfeit his American citizenship to shield himself from American law
enforcement (Id. at 11 9.) lndyzen has presented extensive evidence on Dobson’s alter ego sham
throughout the memorandum of points and authorities accompanying this Petition.

4. Paragraph ll of the Morfit Agreement is an arbitration clause stating that “any
dispute or disagreement arising between [lndyzen] and [Parkridge] . . . shall be referred to
arbitration in San Jose, CA.”

5. On December 9, 2016, Parkridge and Mak filed a complaint in this Court after
they refused to arbitrate the dispute pursuant to the Morfit Agreement’s requirements On l\/larch
8, 2017, lndyzen and Narra petitioned this Court to order Parkridge and Mak to arbitration This
Court granted that petition on April 18, 2017.

6. This Court has subject matter jurisdiction over this petition as it involves a dispute
of over $75,000 between citizens of different states. Indyzen is a California corporation With its

principal place of business in San Jose, Califomia. Narra is an American citizen living in San

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Jose, California Parkridge is a Hong Kong entity headquartered in Hong Kong. Mak is a Hong
Kong citizen living in Hong Kong. Both Parkridge and l\/Iak have already consented to this
Court’s jurisdiction by filing a lawsuit in it. Dobson is an American citizen residing in both
Vietnam and the United States. California Management Group, California Fitness & Yoga
Centers, and F8 Company are all Vietnamese entities with a principal places of business in
Vietnam. Boon is a Hong Kong entity with its principal place of business in Hong Kong.
However, Parkridge, l\/Iak, California l\/lanagement Group, California Fitness & Yoga Centers, 138
Company, and Boon Global are all alter egos of Dobson, and they are all one and the same.
Furthermore, Defendant’s counterclaims against Parkridge, CMG, CFYCS, 138 Company, Boon,
and Dobson form part of the same case or controversy and arise out of the same transaction or
occurrence as Plaintiff’ s claims against Defendants. Thus, jurisdiction is proper under both 28
U.S.C. 1332 and 28 U.S.C. 1367.

7. This Court has personal jurisdiction over Dobson and his Additional Sham
Companies because they are all one and the same as Parkridge and Mak, who both consented to
jurisdiction by filing a lawsuit here. (Adczm v. Saenger (1938) 303 U.S. 59; see also AF Holdings,
LLC v. Navasca (2013) 2013 WL 5701104.) Additionally, Dobson and his Additional Sham
Companies all have minimum contacts with Califomia. Dobson, CMG, and CFYC all worked
extensively with Narra while he was in California on the development of the Morfit App. F8 and
Boon have marketed and sold the Morfit App in online app stores in Califomia.

8. ln Spring 2017, Parkridge submitted a demand for the arbitration which has been
ongoing since. (Request for Judicial Notice (“RJN”) at 1[ 1 and Exhibit A thereto.) On July 5,
2017, Indyzen and Narra filed counterclaims against Parkridge, Dobson and his Additional Sham
Companies relating to their theft of the l\/lorfit App. (Id. at 11 2 and Exhibit B thereto.) On
August 14, 2017, Plaintiffs filed a motion to dismiss the counterclaims (Ia', at ‘\1 3 and Exhibit C
thereto.) On November 26, 2017, the Arbitrator ruled that he did not have the ability to determine
Whether the Additional Sham Companies should be part of the arbitration or not, and concluded
that it was for this Court alone to decide on whether additional parties could be added to the

arbitration (Id. at 11 4 and Exhibit D thereto.)
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9. Accordingly, Indyzen respectfully requests an order from this Court compelling
Dobson and his Additional Sham Companies to arbitrate the related cross-claim against them in
accordance with the Morfit Agreement, so that the Arbitrator can determine whether to proceed
with the counter-claims against them.

10. In addition, and in the event more of Dobson’s sham companies are discovered to
have been involved in the theft of the Morfit App, lndyzen respectfully requests that this Court
order that the Arbitrator should decide whether to add additional sham companies to the
Arbitration in the future, subject to review by this Court. To the extent necessary, this would
more efficiently provide a mechanism to decide such matters while still allowing for judicial

review of the Arbitrator’s decisions

Dated: December 14, 2017 STRUCTURE LAW GROUP, LLP

By: /s/ Ethan G. Solove

Ethan G. Solove, Esq.

Attomeys for Defendants

INDYZEN, INC., and PRAVEEN NARRA
KUMAR

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